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Approved:
            S.i;fI~   LAKE
            Assistant United States Attorney

Before:     THE HONORABLE DEBRA FREEMAN
            United States Magistrate Judge
            Southern District of New York

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UNITED STATES OF AMERICA                     SEALED COMPLAINT

            - v. -                           Violation of
                                             18 U.S.C. § 2261A
VICTOR DELGADO,

                  Defendant.                 COUNTY OF OFFENSE:
                                             NEW YORK
                                 - -x

SOUTHERN DISTRICT OF NEW YORK, ss.:

          JOHN KENNY, being duly sworn, deposes and says that he
is a Task Force Officer with the Federal Bureau of Investigation
("FBI"), and charges as follows:

                               COUNT ONE
                               (Stalking)

     1.   From in or about December 2018 through in or about
July 2019, in the Southern District of New York and elsewhere,
VICTOR DELGADO, the defendant, with the intent to kill, injure,
harass, intimidate, and place under surveillance with intent to
kill, injure, harass, and intimidate another person, used the
mail, any interactive computer service and electronic
communication service and electronic communication system of
interstate commerce, and any other facility of interstate and
foreign commerce to engage in a course of conduct that placed
that person in reasonable fear of the death of and serious
bodily injury to that person and caused, attempted to cause, and
would be reasonably expected to cause substantial emotional
distress to that person, to wit, DELGADO sent at least 12
threatening letters to various recipients with a particular




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individual("Victim-1") listed as the letters' sender, which
caused Victim-1 substantial emotional distress.

             (Title 18, United States Code, Section 2261A(2) .)

     2.    I am a Task Force Officer with the Joint Terrorism
Task Force (the "JTTF") of the FBI.   I have been assigned to the
JTTF since September 2017.   I have been personally involved in
the investigation of this matter.   This affidavit is based upon
my conversations with other law enforcement officers and agents,
my interviews of witnesses, and my examination of documents,
reports and other records.   Because this affidavit is being
submitted for the limited purpose of establishing probable
cause, it does not include all of the facts that I have learned
during the course of my investigation. Where the contents of
documents and the actions, statements, and conversations of
others are reported herein, they are reported in substance and
in part, except where otherwise indicated.

                                   Overview

     3.   As set forth below, from in or about 2013 until his
termination in or about 2014, VICTOR DELGADO, the defendant, was
the resident superintendent at a particular apartment building
in Manhattan (the "Apartment Building").  See infra <JI 7(b).  The
Apartment Building houses graduate students and faculty at a
particular New York City university (the "University").    See id.
A particular management company (the "Management Company")
manages the Apartment Building and employed Delgado.    See infra
'JI 7 (a) - (b) .

     4.     In or about 2013, an Apartment Building resident
("Victim-1") complained about DELGADO to the University.         See
infra <JI 8(b).  DELGADO subsequently began to harass Victim-1,
ultimately leading to DELGADO's termination.     See infra <JI<JI 7(c),
8(c). After the Management Company terminated DELGADO, DELGADO
repeatedly called 911 to report false emergencies at Victim-l's
address.    See infra <JI 8(d). As a result, in or about 2017
DELGADO was prosecuted by the Manhattan District Attorney's
Office (the "Manhattan D.A.'s Office") and Victim-1 received an
order of protection against DELGADO.     See infra <JI 8(e)-(f).

     5.   Between in or about December 2018 and July 2019,
VICTOR DELGADO, the defendant, mailed at least 18 letters
containing white powder and/or threatening messages (the



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         "Letters") to various Management Company and University
         employees, to Victim-1, and to the Manhattan D.A.'s Office.       See
         infra 'JI'JI 9-11. Twelve of the 18 Letters contained Victim-l's
         name and/or address as the return addressee.     See infra 'JI 9(a)-
         ( f) .

               6.    VICTOR DELGADO, the defendant, sent six of the Letters
         in or about July 2019 (the "July Letters").        See infra 'JI'JI 9(e)-
         (f).   DELGADO shipped the July Letters in a package sent from
         Las Vegas, Nevada to an individual living in Manhattan (the
         "Intermediary").       See infra 'JI 11. DELGADO asked the
         Intermediary to remove the July Letters from the package and
         mail them from Manhattan upon receipt.        See infra 'JI 12.    The
         Intermediary received and mailed the July Letters on or about
         July 11, 2019.    See infra 'JI 12. The addressees, which included
         Victim-1, received the July Letters on or about July 15 and 16,
         2019.    See infra 'JI'JI 9(e)-(f).

                           The Management Company and Victim-1

              7.    Based on my conversations with an employee of the
         Management Company ("Witness-1") as well as my review of law
         enforcement reports, I have learned, among other things, the
         following:

                   a.   Witness-1 works at the Management Company.            Among
         other things, the Management Company manages residential
         buildings in New York City.

                   b.   In or about June 2011, the Management Company
         hired VICTOR DELGADO, the defendant, to work as a resident
         superintendent at the Apartment Building, which the Management
         Company manages.  The Apartment Building is located in Manhattan
         and houses graduate students and faculty affiliated with the
         University.

                    c.  In or about September 2014, Witness-1 terminated
         DELGADO from his position as the superintendent of the Apartment
         Building. Witness-1 had received numerous complaints about
         DELGADO's behavior from Apartment Building residents.

              8.   Based on my conversations with Victim-1, my review of
         reports of interviews of Victim-1, and my conversations with
         other law enforcement officers who have interviewed Victim-1, I
         have learned, among other things, the following:



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                a.   Victim-1 currently lives in the Apartment
      Building and lived at the Apartment Building in or about 2013.

                 b.   In or about 2013, a student at the University
       (the "Student") who lived in the Apartment Building complained
      to Victim-l's spouse about DELGADO's behavior. Victim-1 and
      Victim-l's spouse raised the Student's allegations against
      DELGADO with the University.

                c.   After Victim-1 raised the allegations with the
      University, DELGADO began acting'out against Victim-1.  For
      example, in or about late 2013 or early 2014, Management Company
      employees observed DELGADO on video surveillance removing mail
      from Victim-l's mailbox and throwing the mail in the garbage.
      After viewing the video surveillance of this incident, the
      Management Company fired DELGADO as the superintendent of the
      Apartment Building.

                d.   In or about 2014, after the Management Company
      fired DELGADO, DELGADO began to harass Victim-1 by, among other
      things, repeatedly calling 911 to report fake emergencies at
      Victim-l's apartment.  For example, based on my conversations
      with Victim-1 and my review of documents from the Manhattan
      D.A.'s Office, I have learned the following:

                    i.    On or about November 4, 2014, DELGADO called
      911 to falsely report a gas leak at Victim-l's address, causing
      the New York City Fire Department ("FDNY") to respond to Victim-
      l's home.

                   11.    On or about November 26, 2014, DELGADO
      called 911 to falsely report a domestic violence incident at
      Victim-l's address, causing the New York City Police Department
      ("NYPD") to respond to Victim-l's home.

                  iii.    On or about December 2, 2014, DELGADO called
      911 to falsely report animal abuse at Victim-l's address,
      causing the NYPD to respond to Victim-l's home.

                    iv.   On or about December 8, 2014, DELGADO called
      911 to falsely report smoke coming from Victim-l's address,
      causing the FDNY to respond to Victim-l's home.




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                        v.   On or about April 17, 2015, Witness-1
         received a letter that Witness-1 believed DELGADO sent (the
         "April 2015 Letter"). Witness-l's assessment was based on,
         among other things, reference to the author's "unjustified
         termination" and references to some of the 911 calls DELGADO had
         placed falsely reporting incidents at Victim-l's apartment.
         Among other things, DELGADO wrote in the April 2015 Letter: "The
         war and the fight is just beginning.  You caused a lot of
         problems in my life at my age.  I am going to cause you
         problems.  I hope [Victim-1] likes surprises, for I have a
         surprise for him."

                   e.   Based on my review of court records and
         conversations with individuals at the Manhattan D.A.'s Office, I
         know that on or about June 2, 2017, the Manhattan D.A.'s Office
         secured convictions against DELGADO for falsely reporting an
         incident, in violation of New York Penal Law Sections 240.55 and
         240.50, in connection with each of the incidents referenced
         above in paragraph 7 ( d) ( i) - (iv) .

                   f.   As a result of DELGADO's harassment of Victim-1,
         Victim-1 obtained an order of protection against DELGADO in or
         about June 2, 2017, which expires on or about June 1, 2025.

                               The Threatening Letters

               9.    Based on my conversations with other law enforcement
         officers and recipients of the Letters, as well as my review of
         some of the Letters, I have learned, among other things, the
         fo}-lowing:

                   a.   On or about December 18 and 19, 2018, three
         Management Company employees and one University employee
         received letters in the mail which identified Victim-1 as the
         sender.  Three of the four letters contained white powder, 1 and
         all of the letters contained what appeared to be a photocopy of
         the same hand-written note stating, "Im not moving out of my



         1 The white powder contained in each of the Letters referenced
         herein was tested for the following biological threats: Yersinia
         pestis, Francisella tularensis, Burkholderia mallei/
         pseudomallei·, Bacillus anthracis, and ricin toxin. All results
         were negative.



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               apartment. Over my dead body." 2 The message contained in one of
               the letters a Management Company employee received is depicted
               below.




                         b.   On or about June 20, 2019, two Management Company
               employees received letters in the mail which identified Victim-1
               as the sender.  The letters contained white powder and a typed
               note stating, "I am not leaving my apartment over my dead body."

                         c.   On or about June 24, 2019, another Management
               Company employee received a letter in the mail which identified
               Victim-1 as the sender.  The letter contained white powder and
               what appeared to be a photocopy of a handwritten note stating,
               "Im not moving out of my apartment. Over my dead body."

                         d.   On or about June 24, 2019, Victim-1 received a
               letter in the mail, which letter identified Witness-1 as the
               sender.  The letter contained white powder but no note.

               2 The envelope containing one the four letters had fingerprints
               sufficient for analysis.  Based on my review of laboratory
               reports, I know that the fingerprints were analyzed and were not
               a match to VICTOR DELGADO, the defendant.   Based on my training
               and experience, I know that mail carriers, the letter's
               recipient, and possibly others are likely to have touched the
               envelope and may therefore have left their fingerprints.
               Moreover, I know that those who mail threatening letters often
               are careful not to leave their own fingerprints on the mail
               materials.


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               e.   On or about June 26, 2019, three University
     employees received letters in the mail, which identified Victim-
     1 as the sender. All of the letters contained white powder, and
     all of the letters contained what appeared to be a photocopy of
     the same hand-written note stating "Im not moving out of my
     apartment. Over my dead body."

               f.   On or about July 15 and 16, 2019, one University
     Employee received a letter and the Manhattan D.A.'s Office
     received two letters in the mail which identified Victim-1 as
     the sender, either by name or home address. All three letters
     contained white powder.  The letter to the University employee
     contained what appeared to be a photocopy of a hand-written note
     stating, "Im not moving out of my apartment. Over my dead body."
     The letters to the Manhattan D.A.'s Office did not contain any
     notes.

               g.   On or about July 15, 2019, Victim-1, one
     University employee, and two Management Company employees
     received letters in the mail which identified a particular
     medical company in New York City (the "Medical Company") as the
     sender. None of the four letters contained white powder, and
     all four letters contained a typed note stating, "I know you
     like good surprises I have a GOOD SURPRISE for you!!! SURPRISE,
     SURPRISE, SURPRISE." This message, like the message in the
     April 2015 Letter, referenced "surprises." See supra <JI 7 (d) (v).

               h.   Based on my review of each of the Letters, I have
     learned, among other things, that all of the Letters were sent
     in similarly sized white envelop,es with handwritten addresses.

           10. Based on my involvement in this investigation and my
     conversation with other law enforcement officers, I have
     le~rned, among other things, that for each of the 13 Letters
     that contained white powder, a recipient dialed 911.  The law
     enforcement response included, among other things, agents and
     officers from of the local NYPD precinct, the JTTF, the FBI
     Hazardous Evidence Response Team, the FBI Weapons of Mass
     Destruction Team, the U.S. Postal Inspection Service, and the
     FDNY.




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                           The Source of the Letters

           11.  Based on my review of law enforcement databases and my
      conversations with other law enforcement officers, I have
      learned, among other things, the following:

                a.   On or about July 10 and 11, 2019, someone using a
      particular phone number identified as belonging to VICTOR
      DELGADO, the defendant, (the "Delgado Number"), see infra '['JI
      12(a) & 13, checked the tracking information for a particular
      package (the "July Package").

                 b.  On or about July 8, 2019, the July Package was
      shipped from Las Vegas, Nevada to the Intermediary at a
      particular address in midtown Manhattan (the "Midtown Address").

                c.   The July Package arrived at the Midtown Address
      on or about July 11, 2019, at approximately 1:30 p.m.

           12. On or about July 17, 2019, other law enforcement
      officers and I interviewed the Intermediary at the Midtown
      Address.  Based on my conversation with the Intermediary, I have
      learned, among other things, the following:

                a.   On or about July 8, 2019, VICTOR DELGADO, the
      defendant, using the Delgado Number, called the Intermediary and
      told the Intermediary that DELGADO had sent the Intermediary a
      package containing letters (the "July Letters") DELGADO needed
      the Intermediary to mail from New York.  DELGADO told the
      Intermediary that the July Letters were pre-addressed and pre-
      stamped.  The Intermediary agreed to mail the July Letters when
      they arrived.

                b.   The Intermediary received the July Package on or
      about July 11, 2019.  Upon receiving the July Package, the
      Intermediary removed five or six letters from inside the July
      Package and handed them back to the United State Postal Service
      ("USPS") employee who had delivered the July Package.

                c.   The Intermediary did not review the addressees on
      the July Letters or know what was in the July Letters.

                d.   The Intermediary called DELGADO at the Delgado
      Number on or about July 11, 2019 at approximately 1:45 p.m. to




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       inform DELGADO that the Intermediary had mailed the July
       Letters.

            13. Based on my review of law enforcement databases, I
       know that VICTOR DELGADO, the defendant, has used the Delgado
       Number in the past.  For example:

                 a.   In or about January 2018, the Delgado Number
       called 911 to report an open manhole cover.  The caller
       identified himself as "Delgado."

                 b.   In or about September 2018, the Delgado Number
       called the University to report a leak in a particular apartment
       at the Apartment Building. The security guard who answered the
       call from the Delgado Number knew DELGADO and believed the
       caller's voice was similar to DELGADO's.

            14.  Based on my conversations with another law enforcement
       officer who has reviewed the July Letters as well as USPS data,
       I have learned, among other things, the following:

                 a.   The July Letters contain barcodes on the
       envelopes applied by the processing center through which the
       July Letters were routed.

                 b.   All of the July Letters were processed through
       the same USPS mail processing facility in Manhattan (the
       "Manhattan USPS Facility").  The Manhattan USPS Facility
       processes mail sent from Manhattan in addition to the Bronx,
       Brooklyn, Queens, and Staten Island.

                 c.   All of the July Letters were processed at the
       Manhattan USPS Facility on July 11, 2019 between 8:30 and 10:00
       p.m.  This is consistent with the expected processing time for a
       letter sent from midtown Manhattan the afternoon of July 11,
       2019.

                 d.   Based on the foregoing, I believe that the six
       threatening letters referenced above in paragraphs 9(f)-(g) are
       the July Letters, which the Intermediary mailed on behalf of
       VICTOR DELGADO, the defendant.

            15. Based on my conversations with Victim-1 and other law
       enforcement officers who have met with Victim-1, I have learned,
       among other things, that Victim-1 denies having sent the



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Letters, and has experienced substantial emotional distress as a
result of both receiving and being identified as the sender of
some of the Letters.

     WHEREFORE, deponent respectfully requests that a warrant be
issued for the arrest of VICTOR DELGADO, the defendant, and that
he be arrested and imprisoned, or bailed, as the case may be.




                                        Task Fore
                                        Federal   reau of Investigation




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